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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


     In re:                                                       Chapter 11

     23ANDME HOLDING CO., et al.,1                                Case No. 25-40976

                                     Debtors.                     (Jointly Administered)

                                                                  Docket Nos.                30, 125, 420,
                                                                                             574, 657, 668

                                                                  Hearing Date:             June 17, 2025
                                                                  Hearing Time:             9:00 a.m. CDT
                                                                  Hearing Location:         Thomas F. Eagleton
                                                                                            U.S. Courthouse
                                                                                            111 S. 10th Street
                                                                                            Courtroom 5 North
                                                                                            St. Louis, MO 63102


                        THE STATE OF TEXAS’ OBJECTION TO DEBTORS’
                       SALE TRANSACTION AND PROPOSED SALE ORDER

              The State of Texas, acting by and through the Office of the Texas Attorney General

 (“Texas”), hereby files this objection (the “Objection”) to the Debtors’ sale of all or substantially

 all of their assets (the “Proposed Sale”) to either Regeneron Pharmaceuticals, Inc. (“Regeneron”)

 or TTAM Research Institute (“TTAM”), as currently contemplated in the May 17, 2025 Asset

 Purchase Agreement with Regeneron (the “Regeneron APA”) and the May 16, 2025 Asset

 Purchase Agreement with TTAM (the “TTAM APA, and together with the Regeneron APA, the

 “APAs”).2 In support of this Objection, Texas respectfully states as follows: 3


 1
   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
 proposed claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address for
 purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
 2
   D.E. 420, Ex. A, B.
 3
   Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Debtors’ Proposed Sale
 related pleadings appearing at D.E. 30, 125, 420, 574, 657, or 668. Unless otherwise noted, references to the




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                                 I.      PRELIMINARY STATEMENT

  “Why should I need a prescription to spit into a vial and get my DNA read? Why can’t I get my
                   own blood drawn without a doctor’s permission? It’s my blood.”4
                                                -Anne Wojcicki

         Citizens have a basic, inherent right to their genetic data and biomaterials. Just as genes

 are distinct to each individual, each individual has a right of basic ownership and control over their

 genetic material, data, and information gleaned from the collection and use of that data. The State

 of Texas has been at the forefront of the protection of the genetic material, data, and information,

 as well as other sensitive personal information, through the passage of laws and regulations

 regarding who owns genetic data, who can sell, transfer, or disclose that data, and what types of

 businesses may access this highly sensitive and personal information. The protection of this data

 is imperative, especially considering the risks associated with intentional or inadvertent disclosure

 of this most personal of information. Once the genetic data is disclosed, there is no going back –

 individuals cannot request replacement DNA strands for themselves, their children, grandchildren,

 grandparents, and the ancestors who preceded them. It should not be sold, transferred, or disclosed

 without their permission.

         Considering the proposed sale of assets contemplated in the current bankruptcy case, the

 first of its kind, the State of Texas files this objection to not only preserve the rule of law and

 regulatory interests, but to protect Texas consumers from unauthorized sale, transfer, or disclosure

 of genetic data and materials by the Debtors to third party purchasers.




 “Bankruptcy Code” or “Section” shall mean Title 11 of the United States Code and the specific sections referenced
 thereunder.
 4
   Married to the Google Billionaire, by Leah McGrath Goodman, Marie Claire, May 10, 2010 (emphasis added).



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                                II.      RELEVANT BACKGROUND

 A.      General Background

         1.      Founded in 2006, 23andMe provides genetic testing directly to consumers, which

 includes collection of a consumer’s biological sample, conducting DNA genotyping, and providing

 “personalized genetic reports on everything from ancestry composition to traits to genetic health

 risks.”5 23andMe also provides Exome Sequencing to “detect 50,000+ hereditary disease-causing

 variants.”6 As a result of its products and services, according to the Debtors, the company has

 amassed data from over fifteen (15) million customers. 7

         2.      In October 2023, 23andMe suffered a data breach which, they believe, impacted

 approximately seven (7) million consumers, thus prompting various federal, state, and

 international investigations, including an investigation by Texas into the company’s state law

 violations.8

         3.      On March 23, 2025, 23andMe Holding Co., along with eleven (11) affiliated

 debtors, filed a voluntary petition for relief under chapter 11 of the U.S. Bankruptcy Code, case

 no. 25-40976, pending before the U.S. Bankruptcy Court, Eastern Division of Missouri.

         4.      On March 28, 2025, an Order (I) Approving Bidding Procedures for the Sale of the

 Debtors Assets, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III)

 Approving the Form and Manner of the Notice Thereof, (IV) Approving Procedures Regarding

 Entry Into Stalking Horse Agreement(s), if any, (V) Establishing Notice and Procedures for the

 Assumption and Assignment of Contracts and Leases, (VI) Approving Procedures for the Sale,

 Transfer, or Abandonment of De Minimus Assets, and (VII) Granting Related Relief was entered


 5
   See D.E. 32, First Day Declaration, ¶¶ 19, 27; 23andMe, Frequently asked questions, https://www.23andme.com
 (last visited April 2, 2025).
 6
   See 23andMe, Frequently asked questions.
 7
   See D.E. 32, First Day Declaration, ¶ 19.
 8
   See D.E. 32, First Day Declaration, ¶¶ 6, 64.



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 by the Court .9

         5.        A Notice of Successful and Backup Bidders with Respect to the Auction of

 Debtors’ Assets was filed on May 19, 2025, indicating bids by two third parties. 10

         6.        A hearing to approve the sale of the Debtors’ assets, including genetic data,

 material, information, and personally identifiable information, is scheduled to take place on June

 17, 2025, at 9:00 a.m. (CST).

 B.      The Highly Sensitive Data Included in the Sale

         7.        23andMe collects and maintains a significant amount of sensitive personal

 information about Texas consumers, including, but not limited to:

              a.    “Profile Data” from consumers, including their name, date of birth, birth sex,
                   current gender, relationship labels (whether they identify themselves as male or
                   female), and contact information.11

              b.    “Family Tree Data,” obtained by asking users to input information about their
                   relatives, who may or may not be 23andMe users. 12

              c.    “Phenotype Data” – each individual customer’s personal data and health
                   information as collected through initial and supplemental surveys, research
                   participation, and uploaded medical records. 13 Phenotype data represents the
                   observable characteristics of an individual – the physical expression of that
                   individual’s genes (their genotype).

         8.        Importantly, 23andMe collects and analyzes biological samples from consumers

 and sequences their genome for the consumer, creating “Genetic Data.” 14 This data, consisting of

 a human’s raw genetic code, is then kept as a .csv file linked to the user’s profile. 23andMe has

 collected Genetic Data from more than 15 million people. 15 23andMe analyzes this raw genetic


 9
   D.E. 125 (the “Bid Procedures Order”).
 10
    D.E. 420.
 11
    See https://customercare.23andme.com/hc/en-us/articles/360004944654-What-s-In-Your-Account-Settings.
 12
    See https://customercare.23andme.com/hc/en-us/articles/360036068393-The-23andMe-Family-Tree-Feature.
 13
     See https://customercare.23andme.com/hc/en-us/articles/212873367-Updating-Your-Personal-Information-with-
 23andMe-Name-Sex-Date-of-Birth.
 14
    D.E. 32, ¶¶ 26–32.
 15
    D.E. 32, ¶¶ 2–3, 19.



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 information to provide insights about an individual’s ancestry, including the likely regions of

 origin of their forebears.16 23andMe also analyzes their customers’ genomes to determine the

 presence of genetic risk factors for diseases. Additionally, 23andMe potentially holds, through its

 Lemonaid Health telehealth platform, medical information, including medications and other health

 information of Texas consumers.17

            9.        23andMe holds—and is proposing to sell to a third-party—an unprecedented

 compilation of highly sensitive and immutable personal data, including a human being’s

 immutable genetic identity (their genome). Each individual’s information is conjoined with their

 phenotype data (how their genome has manifested itself physically/mentally) and other sensitive

 personal information, including the individual’s family tree and contact information.

            10.       Virtually all of this personal information is immutable. If stolen or misused, it

 cannot be changed or replaced. Furthermore, this data is exclusively personal and unique,

 representing that customer’s identity and not the identity of any other human being.

            11.       In addition, this exclusively personal data also carries with it significant, sensitive

 information about others who share DNA and/or familial relationships. For example, this data can

 be used to identify and track those who are related to the 23andMe consumer—including deceased

 ancestors and future generations yet unborn. In other words, the magnitude of the data in this

 proposed sale stretches far beyond the 23andMe consumers, impacting those who have no

 awareness of the sale as well as humans who no longer exist and do not exist yet. Protection of

 Texas customers and their control of the data in question in this sale is of the utmost importance

 to the State of Texas.




 16
      D.E. 32, ¶¶ 26, 28. 31.
 17
      D.E. 32, ¶ 3.



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                        III.     OBJECTION AND AUTHORITY IN SUPPORT

 A.       The Issue of Property of the Estate Must be Determined Prior to Sale.

          12.      While federal bankruptcy law defines what is property of the bankruptcy estate, it

 is state law that defines the extent of the estate’s interest in the property. 18 The issue of whether

 the Debtors have a property interest in such data under Texas law must be determined prior to any

 sale of the data.19

          13.      Section 541(a) provides that the estate is comprised of all legal or equitable interests

 of the debtor in property, wherever located, as of the date the case is commenced except those

 excluded by subsections (b), (c), and (d). 20 Subsection (b) provides that a pure fiduciary power

 over another’s property never brings that property into the estate: “[p]roperty of the estate does not

 include… any power that the debtor may exercise solely for the benefit of an entity other than the

 debtor.”21 Subsection (c) preserves enforceable non-bankruptcy transfer restrictions; “section

 541(c)(1)(A) does not invalidate the restrictions . . . . Rather, it ensures that the debtor’s interest .

 . ., including transfer restrictions imposed upon the debtor not otherwise precluded by law,

 becomes property of the estate.”22 Subsection (d) prevents “equitable” rights from coming into

 the estate when the debtor only holds legal title: “Property in which the debtor holds . . . only legal

 title and not an equitable interest . . . becomes property of the estate . . . only to the extent of the

 debtor’s legal title . . . but not . . . any equitable interest . . . that the debtor does not hold.” 23

          14.      As the Supreme Court noted, “[t]he legislative history indicates that Congress



 18
    See Stellwagen v. Clum, 245 U.S. 605, 613 (1918); Butner v. United States, 440 U.S. 48, 54 (1979).
 19
    See In re Clark, 266 B.R. 163, 171 (B.A.P. 9th 2001) (holding that the threshold question of whether property is
 property of the estate “must first be decided” prior to any sale); see also 11 U.S.C. § 363(p).
 20
    11 U.S.C. § 541(a)(1).
 21
    Id. at § 541(b)(1).
 22
    See In re Dean, 174 B.R. 787, 790 (Bankr. E.D. Ark. 1994); In re Paul, 355 B.R. 64, 67 (Bankr. N.D. IL 2001)
 (while section 541(c) “governs what is property of the estate; it does not address what a [debtor] is allowed to do with
 that property.”); In re Crossman, 259 B.R. 301 (Bankr. N.D. Ill. 2001).
 23
    11 U.S.C. § 541(d).



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 intended to exclude from the estate property of others in which the debtor had some minor interest

 such as a lien or bare legal title.”24 Section 541(a)(1)’s definition does not enlarge a debtor’s

 substantive property rights “against others beyond those existing at the commencement of the

 case.”25

          (1)      Any Interest the Debtors Have in Texas Customers’ Highly Sensitive Data is
                   Subject to Customers’ Property, Ownership, and Control Rights under Texas
                   Law.

          15.      In the current case, Texas law provides Texas customers exclusive property,

 ownership, and control rights in and over their biological samples, genetic and personal data, and

 the results or analysis thereof (the “Highly Sensitive Data”), as well as privacy rights in the Highly

 Sensitive data.26 As such, the Debtors cannot claim ownership in and sell this data as proposed

 without first obtaining separate, express consent of Texas customers.

                   (a)      Texas Direct-to-Consumer Genetic Testing Act

          16.      Under Texas’ Direct-to-Consumer Genetic Testing Act (the “DTC Genetic Testing

 Act”),27 individual Texas residents have exclusive ownership and control over their Highly

 Sensitive Data:

                   Sec. 503A.003. EXCLUSIVE PROPERTY RIGHT IN DNA;
                   CONFIDENTIALITY. An individual has a property right in, and retains
                   the right to exercise exclusive control over the individual’s biological
                   sample that is provided to or used by a direct-to-consumer genetic testing
                   company and the results of genetic testing or analysis conducted on the
                   individual’s DNA by a direct-to-consumer genetic testing company,
                   including to the collection, use, retention, maintenance, disclosure, or

 24
    United States v. Whiting Pools, Inc., 462 U.S. 198, 204 n.8 (1983).
 25
    See In re N.S. Garrott & Sons, 772 F.2d 462, 465-467 (8th Cir. 1985) (“the estate cannot acquire greater interests
 than those which the debtors had . . . .”); see also In re Schauer, 62 B.R. 526, 530 (Bankr. D. Minn. 1986) (“The trustee
 and the estate succeed only to the title and rights in property which the debtor had; the mere commencement of a
 bankruptcy case does not vest the trustee with property rights which the debtor could not himself wield.”).
 26
    See Tex. Bus. & Com. Code § 503A.003. The Texas Legislature passed the DTC Genetic Testing Act to provide
 Texans with genetic data privacy protections because “private genetic testing companies such as Ancestry and
 23andMe fall in a regulatory gray area.” S. Comm. on Bus & Com., Bill Analysis, Tex. H.B. 2545, 88th Leg., R.S.
 (2023). This law “reaffirm[s] that [Texans] are [to] always [be] informed and have complete control of when and how
 their genetic data will be shared . . . .” Id.
 27
    Codified primarily in Texas Business & Commerce Code § 503A.001 et seq.



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                   destruction of the sample or results. The results of the genetic testing of
                   an individual's DNA are confidential and may not be disclosed to another
                   person without the individual's express consent. 28

          17.      The DTC Genetic Testing Act also contains certain restrictions or conditions on the

 direct-to-consumer genetic testing company’s possession of this data. The company must obtain

 an individual’s separate express consent before: (a) the transfer or disclosure of the individual’s

 genetic data to any person other than the company’s vendors and service providers; (b) the use of

 genetic data for a purpose other than the primary purpose of the company’s genetic testing product

 or service; or (c) the retention of any biological sample provided following completion of the initial

 testing service.29 The company is also prohibited from disclosing an individual’s genetic data to

 an entity that offers health insurance, life insurance, or long-term care insurance or an individual’s

 employer absent written consent.30

          18.      Specifically, the company must obtain a separate “affirmative response to a clear

 and meaningful notice regarding the collection, use, or disclosure of genetic data for a specific

 purpose.”31

                   (b)      Texas Data Privacy and Security Act

          19.      Texas’ Data Privacy and Security Act (the “TDPSA”) also regulates, restricts, or

 conditions the collection, use, processing, and treatment of consumers’ personal data and provides



 28
    See id. § 503A.003 (“Biological sample means a material part of the human body, or a discharge or derivative part
 of the body, including tissue, blood, urine, or saliva that is known to contain DNA.” Id. § 503A.001(1). “Genetic
 data means any data, regardless of format, concerning an individual’s genetic characteristics. The term includes: (i)
 raw sequence data derived from sequencing all or a portion of an individual’s extracted DNA; (ii) genotypic and
 phenotypic information obtained from analyzing an individual’s raw sequence data; and (iii) health information
 regarding the health conditions that an individual self-reports to a company and that the company (a) uses for scientific
 research or product development; (b) analyzes in connection with the individual’s raw sequence data; and (c) does not
 include deidentified data.” Id. § 503A.001(6). “Deidentified data means data not reasonably linked to and that cannot
 reasonably be used to infer information about an identifiable individual.” Id. § 503A.001(2). “DNA means
 deoxyribonucleic acid.” Id. § 503A.001(4).
 29
    Id. § 503A.006(a)(1).
 30
    Id. § 503A.007(b).
 31
    Id. § 503A.001(5) (defining “express consent”).



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 consumers with certain rights regarding their data. 32 Personal data includes sensitive data such as

 genetic data, personal data revealing racial or ethnic origin, mental or physical health diagnosis,

 and personal data collected from a known child. 33

          20.      Subject companies may not process the sensitive data of a consumer before

 obtaining the consumer’s consent.34 “Process” or “Processing” includes the disclosure of sensitive

 data such as a Texan’s genetic data and health diagnosis. 35

          21.      Consent under the TDPSA “means a clear affirmative act signifying a consumer’s

 freely given, specific, informed, and unambiguous agreement to process personal data relating to

 the consumer.”36 A consumer’s consent is not obtained through the “acceptance of a general or

 broad terms of use or similar document that contains descriptions of personal data processing along

 with other, unrelated information; hovering over, muting, pausing, or closing a given piece of

 content; or agreement obtained through the use of dark patterns.” 37

          22.      A consumer’s click-through acceptance of the Debtors’ terms of service and/or

 privacy policies upon signing up for services does not meet the consent requirements as defined

 by the DTC Genetic Testing Act or the TDPSA.

          23.      Although Texas law expressly grants individuals full property, ownership, and

 control rights in and over their Highly Sensitive Data, the Debtors have not shown that they hold

 any interest in that data beyond mere possession. 38 Even if the Debtors possess more than a



 32
    Codified primarily in Texas Business & Commerce Code § 541.001 et seq.
 33
    Id. § 541.001(19), (29).
 34
    Id. § 541.101(b)(4).
 35
    Id. §§ 541.001(22) (defining “process” to include disclosure), 541.001(29) (defining “sensitive data”).
 36
    Id. § 541.001(6).
 37
    Id.
 38
    Neither the Petition nor the Debtors’ schedules list the Highly Sensitive Data, the Regeneron APA carves out
 “Industry Data” from the “Acquired Assets’ definition covering “all of the properties, rights, title, interests and other
 tangible and intangible assets that the [Debtors] own or possess,” and the TTAM APA does not specifically include
 “Personal Information” in the definition of “Acquired Assets,” but then refers to it as an Acquired Asset under section
 4.4. See D.E. 420, pp. 12, 109-111, and 140.



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 minimal possessory interest, such interest remains subject to the limitations and conditions

 imposed by Texas law.

        (2)     Debtors Have No Ownership Interest in Deleted Customer Data.

        24.     Just prior to and following the filing of the bankruptcy petition, Debtors

 communicated to former and current customers the right to delete their data and genetic materials,

 assuring customers that the data would be deleted upon request. It is unknown how many Texas

 customers have, to date, requested data and account deletion from Debtors, as Debtors have failed

 to provide this information to state regulators. Further, it is unknown what process the Debtors

 have undertaken to (1) timely process the deletion requests, (2) delete data for each customer, (3)

 track the data that has been deleted to confirm deletion, or (4) confirm that the data has been

 deleted, despite requests for this information by Texas and other state regulators.

        25.     Despite the repeated assurances of the Debtors, Texas posits that Debtors have no

 ownership interest in, and no ability transfer, sell, disclose, or otherwise change ownership of data

 that has been deleted, or has a pending deletion request.

 B.     Section 363 Does Not Authorize Approval of the Proposed Sale.

        26.     The Proposed Sale of the Highly Sensitive Data under both APAs violates

 nonbankruptcy law and the Debtors’ contractual obligations to customers and does not meet the

 conditions of section 363(f). Accordingly, the Debtors are not authorized under section 363 to use

 or sell the Highly Sensitive Data free and clear of customers’ property and ownerships rights or

 interests, as provided in the Proposed Sale, unless and until they first obtain the separate express

 consent of customers prior to consummation of the sale. Texas contends that this consent

 requirement can be accomplished by implementing a customer opt-in procedure, as further

 discussed and proposed herein.




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            27.      Section 363(b)(1) provides that:

                     The trustee, after notice and a hearing, may use, sell, or lease, other
                     than in the ordinary course of business, property of the estate, except
                     that if the debtor in connection with offering a product or a service
                     discloses to an individual a policy prohibiting the transfer of [PII]
                     about individuals to persons that are not affiliated with the debtor
                     and if such policy is in effect on the date of the commencement of
                     the case, then the trustee may not sell or lease [PII] to any person
                     unless –
                     (A)      such sale or lease is consistent with such policy; or
                     (B)      after appointment of a consumer privacy ombudsman in
                     accordance with section 332, and after notice and a hearing, the
                     court approves such sale or lease—
                              (i) giving due consideration to the facts, circumstances, and
                              conditions of such sale or such lease; and
                              (ii) finding that no showing was made that such sale or
                              such lease would violate applicable nonbankruptcy law. 39

            28.      Section 363(f) authorizes a trustee or debtor-in-possession to sell property “free and

 clear of any interest in such property of an entity other than the estate,” but only if one of the

 following prerequisites are met:

                     (1) applicable nonbankruptcy law permits sale of such property
                     free and clear of such interest;
                     (2) such entity consents;
                     (3) such interest is a lien and the price at which such property is to
                     be sold is greater than the aggregate value of all liens on such
                     property;
                     (4) such interest is in bona fide dispute; or
                     such entity could be compelled, in a legal or equitable proceeding,
                     to accept a money satisfaction of such interest. 40

            (1)      The Proposed Sale is Not Consistent with the Debtors’ Privacy Policies as
                     Required under Section 363(b)(1)(A).

            29.      The Proposed Sale does not comply with the Debtors’ Privacy Policies, and as such,

 the sale cannot be approved pursuant to section 363(b)(1)(A). Based on a review of the Debtors’

 website history, the Debtors posted at least twenty-two (22) updates to their “Privacy Statement”


 39
      11 U.S.C. § 363(b)(1)(A), (B).
 40
      11 U.S.C. § 363(f)(1)–(5).



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 from November 2007 through March 14, 2025. 41 Many versions did not include any reference to

 sales in the context of “bankruptcy” or “reorganization,” and the eighteen (18) updates from

 November 2007 through October 3, 2023 contain a restriction on the release and/or sale of the

 Highly Sensitive Data to third parties absent “explicit consent.” 42 At least one such version assures

 consumers, “[a]s a reminder, we do not sell information, and we will not use your Genetic

 Information for marketing or personalized advertising without your explicit consent,” 43 while

 others declare, in the company’s “core privacy principles,” “we will not sell, lease, or rent your

 individual-level information (i.e., information about a single individual’s genotypes, diseases or

 other traits/characteristics) to any third-party or to a third-party for research purposes without your

 explicit consent.”44

         30.     Because Debtors have provided assurances to its customers, many of whom are

 customers who may have purchased one 23andMe genetic testing kit and would be subject to the

 Privacy Statement in effect at the time, the Debtors cannot and have not shown that the Proposed

 Sale complies with applicable privacy policies.

         (2)     The Proposed Sale Violates Nonbankruptcy Law and Cannot be Approved
                 under Section 363(b)(1)(B).

         31.     The Proposed Sale cannot be approved pursuant to section 363(b)(1)(B), as the

 Proposed Sale violates Texas law. The Proposed Sale seeks authority, without the prior separate

 express consent of consumers, to: (a) transfer or disclose customers’ genetic data to any person

 other than the company’s vendors and service providers; (b) use customers’ genetic data for a

 purpose other than the primary purpose of the company’s genetic testing product or service; and


 41
    23andMe, Privacy Statement (Nov. 7, 2011-March 14, 2025), https://www.23andme.com/legal/privacy/; archived
 at: https://web.archive.org/web/20250000000000*/https:/www.23andme.com/legal/privacy (last visited on April 7,
 2025).
 42
    Id.
 43
    Id. at 23andMe, Privacy Statement (June 8, 2022).
 44
    Id. at 23andMe, Privacy Statement (Dec. 7, 2015 and Sept. 29, 2016).



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 (c) process the sensitive data of a consumer.

          32.       However, as noted above, restrictions or conditions on the Debtors’ interests that

 are not otherwise precluded by law become property of the estate, and the Debtors’ rights are not

 enlarged against others beyond those existing at the commencement of the case. 45 Here, Texas

 law restricts or conditions the Debtors’ interests in the Highly Sensitive Data on obtaining prior

 separate express consent, and the laws are not invalidated by any provision of the Bankruptcy

 Code. These restrictions are not tied to the Debtors’ insolvency, existed pre-bankruptcy filing, and

 excepting only the Debtors’ vendors or service providers, are triggered in any context involving

 the Debtors’: (a) transfer or disclosure of customers’ genetic data; (b) use of customers’ genetic

 data for a purpose other than the primary purpose of the company’s genetic testing product or

 service; and (c) processing of customer’s sensitive data. 46 Regeneron and TTAM are not the

 Debtors’ vendors or service providers. Accordingly, the Proposed Sale violates nonbankruptcy

 law and is not permitted under Texas law absent the Debtors obtaining customers’ prior separate

 express consent.




 45
    See In re N.S. Garrott & Sons, 772 F.2d at 465–67 (noting that “the estate cannot acquire greater interests than those
 which the debtors had . . . .”); see also In re Schauer, 62 B.R. at 530 (“The trustee and the estate succeed only to the
 title and rights in property which the debtor had; the mere commencement of a bankruptcy case does not vest the
 trustee with property rights which the debtor could not himself wield.”); see also State of Missouri v. U.S. Bankruptcy
 Court of the Eastern District of Arkansas, 647 F.2 768, 770 (8th Cir. 1981) (“Although we hold that the bankruptcy
 court has preliminary jurisdiction over the property, we emphasize that the bankruptcy court must administer the
 debtors’ limited interest consistent with the ownership rights of holders of documents of title under Missouri law…”);
 see also In re Kramer, No. 19-12014-R, 2022 Bankr. LEXIS 330, at *12 (Bankr. N.D. Ok. Feb. 8, 2022) (holding that
 the “Trustee’s proposed sale and transfer of the economic benefits of the estate’s interest” in property was subject to
 all contractual provisions as construed by state law because the trustee only succeeds to the title and rights the debtor
 had in the property prior to bankruptcy); see also In re Sanders, 969 F.2d 591, 593 (7th Cir. 1992) (“[A] bankruptcy
 trustee succeeds only to the title and rights in property that the debtor had at the time she filed the bankruptcy petition.
 Filing a bankruptcy petition does not expand or change a debtor’s interest in an asset; it merely changes the party who
 holds that interest. Further, a trustee takes the property subject to the same restrictions that existed at the
 commencement of the case. To the extent an interest is limited in the hands of a debtor, it is equally limited as property
 of the estate.” (internal citations omitted)).
 46
    Cf. 11 U.S.C. § 363(l) (providing that “the trustee may use, sell, or lease property…notwithstanding any provision
 in a contract, a lease, or applicable law that is conditioned on the insolvency or financial condition of the debtor, on
 the commencement of a case under this title concerning the debtor,…and that effects, or gives an option to effect, a
 forfeiture, modification, or termination of the debtor’s interest in the such property”).



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          (3)      The Proposed Sale Does Not Meet the Conditions in § 363(f).

          33.      The parties seek authority of the Proposed Sale free and clear of customers’

 property and ownership rights and interest, but do not meet any of the prerequisites contained in

 section 363(f).

          34.      As discussed above, in III.B(2), Texas law does not permit the Proposed Sale absent

 the Debtors obtaining customers’ prior separate express consent, which the Debtors have not

 obtained and do not provide for in the Proposed Sale. 47 The customers’ interest is not a lien, and

 because Texas law explicitly provides consumers with exclusive property, ownership, and control

 rights, the only interest in dispute is that of the Debtors. Also, customers’ property and ownership

 rights and interests at issue here are not the type of interests that are reducible to a claim for which

 the Debtors can compel customers to accept a portion of the proceeds of the Proposed Sale in

 satisfaction of their interests.48

          (4)      Section 363 Does Not Authorize the Debtors’ “Change in Ownership.”

          35.      The Bid Procedures Order and Bidding Procedures authorized the Debtors to solicit

 and purse a sale under section 363.49 To undermine customers’ property rights and interests and


 47
    Consent under the DTC Genetic Testing Act, requires a separate “affirmative response to a clear and meaningful
 notice regarding the collection, use, or disclosure of genetic data for a specific purpose.” Tex. Bus. & Com. Code
 § 503A.001(5). Consent under the TDPSA “means a clear affirmative act signifying a consumer’s freely given,
 specific, informed, and unambiguous agreement to process personal data relating to the consumer,” but does not
 include “acceptance of a general or broad terms of use or similar document . . . .” Id. § 541.001(6). Bankruptcy courts
 have similarly determined “consent” means an affirmative act. See generally, In re Roberts, 249 B.R. 152, 155 (Bankr.
 W.D. Mich. 2000) (The terms “consents” and “fails to object” are not synonymous. “When a person consents to a
 particular action, that person has equivocally manifested his or her affirmation of the proposed action through some
 discernable statement or act. In contrast, when a person fails to object to a proposed action, that person’s affirmation
 can only be deduced from the lack of any statement or act which would suggest a contrary position . . . . ‘[C]onsent’
 obligates the trustee to approach the lienholder and secure the lienholder’s assent if the trustee wishes to sell the
 property free and clear of the lien.”); see also In re DeCelis, 349 B.R. 465, 469 (Bankr. E.D. Va. 2006) (“If consent in
 section 363(f)(2) was intended to include silence, Congress “knew how to say so . . . [i]t did not.”).
 48
    See Trans World Airlines, Inc. v. Knox-Schillinger (In re TWA), 322 F.3d 283, 291 (3rd Cir. 2003) (finding that
 EEOC discrimination claims “are reducible to, and can be satisfied by, monetary awards even if the relief sought is
 injunctive in nature” and thus fell under the exception in § 363(f)(5)); see also In re Kellstorm Indus., Inc., 282 B.R.
 787, 794 (Bankr. D. Del. 2022) (“Any interest in property that can be reduced to a money satisfaction constitutes a
 claim for purposes of section 363(f)(5).”).
 49
    D.E. 125.



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 specifically circumvent state law, however, the parties simultaneously include and carve-out the

 Highly Sensitive Data from the definition of “Acquired Assets” in the APAs, and frame the

 transaction regarding Highly Sensitive Data as a mere “change in ownership” that “shall not

 constitute a sale, transfer, or disclosure:”

          Regeneron APA:50

          § 1.1 - “Acquired Assets” means all of the properties, rights, title, interests and other
          tangible and intangible assets that Sellers own or possess (other than, except in the case of
          clause (b) below . . .and that are related to or used or held for use by such Seller in
          connection with the conduct of the Business as the same shall exist on the Closing Date,
          and shall include: . . . (b) all customer data and all biological samples of the Business that
          are biobanked or otherwise in the possession of Sellers, including genetic data, processed
          genetic data, analyses of raw genotyped data, phenotype data, ancestry, surveys, user-
          generated or reported data, linked medical records or other linked health data, account
          information and biological samples (saliva and blood samples) of the Business
          (collectively, the “Industry Data”).

          § 1.1 – “Customer Data” means all genetic data, processed genetic data, analyses of raw
          genotyped data, phenotype data, ancestry, user-generated or reported data, linked medical
          records or other linked health data, account information and biological samples (saliva and
          blood samples), including, for the avoidance of doubt, such material or data containing
          Personal Information of customers of the Business at the Closing Date. 51

          § 4.4 – Change in Ownership. Sellers and Purchasers acknowledge and agree that the
          change of ownership of Customer Data included in the Acquired Assets from Sellers to
          Purchaser pursuant to this Agreement shall not constitute a sale, transfer or disclosure of
          Customer Data and shall solely constitute a change in ownership of such Acquired Assets,
          and shall be made for the sole purpose of enabling Purchaser to continue operating the
          Business subject to Section 7.11.

          TTAM APA:52

          § 1.1 – “Acquired Assets” means all of the properties, rights, title, interests and other
          tangible and intangible assets the Sellers own or possess . . . as the same shall exist on the
          Closing Date . . . .

          § 4.4 – Change in Ownership. Sellers and Purchaser acknowledge and agree that the

 50
    D.E. 420, pp. 12, 39.
 51
    The terms “Industry Data” and “Customer Data” are defined in similar, but distinguishingly different ways. Id. at
 pp. 12, 18. The Debtors indicated this was a drafting error but, as noted below in III.E., the differing definitions and
 references in various provisions of the APA raise concerns as to the true meaning of Regeneron’s “commitments”
 regarding the Highly Sensitive Data in § 7.11.
 52
    D.E. 420, pp. 109, 140.



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          change of ownership of Personal Information included in the Acquired Assets from Sellers
          to Purchaser pursuant to this Agreement shall not constitute a sale, transfer or disclosure
          of Personal Information and shall solely constitute a change in ownership of such Acquired
          Assets, and shall be made for the sole purpose of enabling Purchaser to continue operating
          the Acquired Assets subject to Section 7.12.53

          36.      Curiously, though, approval of the transaction that is “not a sale, transfer, or

 disclosure” carries all the same benefits only afforded to sales under section 363. 54 Despite the

 parties’ labels, there can be no reasonable dispute that the transactions contemplated under either

 APA will result in, at minimum, “disclosure” of the Highly Sensitive Data to persons that are not

 the Debtors’ vendors or service providers, including Regeneron or TTAM.                                There are no

 exemptions for “change in control,” “acquisitions,” “equity transfers,” “stock purchases,” or any

 other terminology the parties concoct to try and avoid the requirements under Texas law. 55 The

 substance of the APAs also reflect a functional disclosure and transfer of control over the Highly

 Sensitive Data to a new, separate legal entity:

      Regeneron Pharmaceuticals, Inc. APA                              TTAM Research Institute APA
                   D.E. 420                                                    D.E. 420
  Sec. 2.1 “Seller will sell, transfer, convey,               Sec. 2.1 “Seller will sell, transfer, convey,
  assign, deliver and set over to Purchaser or a              assign, deliver and set over to Purchaser (or
  Designated Purchaser, and Purchaser or a                    the applicable Designated Purchaser(s)), and
  Designated Purchaser will purchase and                      Purchaser (or the applicable Designated
  accept, all of the right, title, benefit and                Purchaser(s)) will purchase and accept, all of
  interest of such Seller in, to and under, the               the right, title, benefit and interest of such
  Acquired Assets, free and clear of all Liens                Seller in, to and under, the Acquired Assets,
  and Interests (other than Permitted                         free and clear of all Liens and Interests (other
  Encumbrances), pursuant to Section 363 of                   than Permitted Encumbrances and Assumed
  the Bankruptcy Code.”                                       Liabilities), pursuant to Sections 105, 363(f),
                                                              365 and/or 1123(b)(4) of the Bankruptcy
                                                              Code, as applicable.”

 53
    While the term “Personal Information” has a precise definition, it is not listed as one of the specified “Acquired
 Assets,” presumably falling under the “including (but not limited to)” clause. Id. at p. 126.
 54
    See, e.g., Regeneron APA, §§ 1.1, 2.1, 2.4, 2.6, 4.2, 5.1, 11.2, and 11.5; TTAM APA, §§ 1.1, 2.1, 2.4, 4.2, 5.1, 7.13,
 7.22, 11.5, and 11.9; D.E. 420, ¶¶ F, N, Q, 10, 12, 14, 21, and 25.
 55
    The DTC Genetic Testing Act prohibits transfer or disclosure of genetic data to unrelated third parties, for use for
 a purpose other than the primary purpose, and retention of the biological sample without separate express consent.
 Tex. Bus. & Com. Code § 503A.003(1). The TDPSA prohibits the disclosure of sensitive data without the consumer’s
 consent and consent does not include acceptance to general terms of use or other document. Id. §§ 541.101(b)(4),
 541.001(6) (defining “consent”), 541.001(22) (defining “process” to include “disclosure”).



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 Sec. 4.1 “All documents delivered and all           Sec. 3.3(b) “The parties agree that the
 transactions consummated at the Closing will        purchase and sale of the Acquired Assets
 be deemed for all purposes to have been             pursuant to this Agreement shall be treated
 delivered and consummated effective as of           for U.S. federal, state and local income tax
 the Effective Time.                                 purposes as the purchase and sale of the
                                                     Acquired Assets in a taxable transaction
                                                     governed by Section 1001 of the Code.”
 Sec. 4.2 “Seller will deliver . . . any physical    Sec. 4.1 “All documents delivered and all
 Acquired Assets within the control or               transactions consummated at the Closing will
 possession of such Seller or its Affiliates, it     be deemed for all purposes to have been
 being understood that the delivery required         delivered and consummated effective as of
 hereunder shall be deemed satisfied if such         the Effective Time.”
 assets are made available to the Purchaser
 for collection[.]”
 Sec. 5.1(m)(viii) “Sellers have complied in all     Sec. 4.2 “Seller will deliver . . . any physical
 material aspects with applicable Privacy            Acquired Assets of such Seller or its
 Requirements in relation to the transfer of         Affiliates, it being understood that the
 Personal Information to third parties.”             delivery required hereunder shall be deemed
                                                     satisfied if such assets are made available to
                                                     the Purchaser for collection”
 Sec. 5.1(m)(ix) “any transfer of Personal           Sec. 5.1(l)(iv) “Sellers have the right to
 Information by Sellers to Purchaser in              transfer to the Purchaser, and, giving effect
 connection with the execution or delivery or        to Section 7.12 and subject to applicable Law,
 performance of this Agreement or any                upon Closing the Purchaser will have the
 Related Agreements will comply with all             right to continue to collect, use and
 applicable Privacy Requirements and Sellers         otherwise process, all Personal Information
 are not required to provide notice to obtain        included in the Acquired Assets in the same
 consent from any relevant individual prior to       manner as in the conduct of the Business prior
 effectuating such transfer.”                        to Closing, without undue restriction or delay
                                                     and without breach of Privacy Requirements,
                                                     in all material respect.”
 Sec. 5.1(m)(xi) “Following the Closing,             Sec. 5.1(s)(v) “None of the Acquired Assets
 Purchaser and/or the Designated Purchaser           constitutes stock, partnership interests or any
 shall be permitted to use the samples and           other equity interest in any Person for U.S.
 Personal Information included in the                federal income Tax purposes.”
 Industry Data to the same extent Sellers
 were permitted to use such Personal
 Information prior to the Closing, after giving
 effect to Section 7.11.”
 Sec. 5.1(r)(vi) “None of the Acquired Assets        Sec. 5.2(j) “Purchaser is acquiring the
 constitutes stock, partnership interests or any     Acquired Assets for investment for
 other equity interest in any Person for U.S.        Purchaser’s own account, not as a nominee or
 federal income Tax purposes.”                       agent, and not with a view to the resale or
                                                     distribution of any part thereof, and Purchaser
                                                     has no present intention of selling, granting



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                                                    any participation in, or otherwise distributing
                                                    the same.”
  Sec. 5.1(v)(iv) “The Acquired Assets              Sec. 11.5 “The transfer of the Acquired
  delivered at the Closing shall include the        Assets shall vest Purchaser (or the
  Industry Data. At the Closing, the Industry       applicable Designated Purchaser(s)) with all
  Data shall transfer to Purchaser or a             right, title, and interest of Sellers in the
  Designated Purchaser, free and clear of all       Acquired Assets free and clear of any and all
  Liens, other than Permitted Encumbrances.”        Liens, Liabilities and other Interests (other
                                                    than Permitted Encumbrances and Assumed
                                                    Liabilities) pursuant to Sections 105, 363(f),
                                                    365 and/or 1123(b)(4) of the Bankruptcy
                                                    Code].]”
  Sec 5.2(i) “Purchaser is acquiring the
  Acquired Assets for investment for
  Purchaser’s own account, not as a nominee or
  agent, and not with a view to the resale, and
  Purchaser has no present intention of selling
  or otherwise distributing the same.”
  Sec. 11.5 “The transfer of the Acquired
  Assets shall vest Purchaser with all right,
  title, and interest of Sellers in the Acquired
  Assets free and clear of any and all Liens,
  Liabilities and other Interests (other than
  Permitted Encumbrances) pursuant to Section
  363 of the Bankruptcy Code[.]”



        37.    However, if, as the Debtors contend, the Highly Sensitive Data transaction is not a

 sale or transfer, then the Court should deny the relief requested because neither section 363 nor

 the Bid Procedures Order authorize a “change in ownership,” and the parties should not be

 permitted to disclaim a sale while seeking sale approval and all the benefits attendant to a sale

 under section 363.

 C.     Section 363 Does Not Preempt State Law.

        38.    “Federal law may preempt state law” in three ways; first, in enacting the federal

 law, Congress may explicitly define the extent to which it intends to preempt state law. Second,

 even in the absence of express preemptive language, Congress may indicate an intent to occupy




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 an entire field of regulation, in which case the States must leave all regulatory activity in that area

 to the Federal Government. Finally, if Congress has not displaced state regulation entirely, it may

 nonetheless preempt state law to the extent that the state law actually conflicts with federal law.

 Such a conflict arises when compliance with both state and federal law is impossible, or when the

 state law stands as an obstacle to the accomplishment and execution of the full purposes and

 objectives of Congress.56

         39.      “[U]nder section 363(f), sales of estate property free and clear of interests are

 permitted, inter alia, to the extent applicable nonbankruptcy law so permits.”57 Here, section

 363(b)(1) specifically recognizes that the sale of personally identifiable information cannot

 “violate applicable nonbankruptcy law.”58 This is a clear recognition that Congress did not intend

 to displace state regulation entirely.59 Quite the contrary, Congress made clear that any sale of

 personally identifiable information, which includes the genetic data at issue in this sale, must

 comply with “applicable nonbankruptcy law.” 60 Therefore, the only way preemption could occur

 is if there is a conflict between Texas law and the Bankruptcy Code.

         40.      In order for the Court to conclude that the Bankruptcy Code preempts state law,

 “the court must conclude that an actual conflict exists between a specific provision of the

 Bankruptcy Code” and the state statute. 61 “Simply making a reorganization more difficult for a

 particular debtor, however, does not rise to the level of ‘stand[ing] as an obstacle to the

 accomplishment of the full purposes and objectives of Congress.’” 62 Additionally, numerous cases


 56
    See Mich. Canners & Freezers Ass’n v. Agric. Marketing & Bargaining Bd., 467 U.S. 461, 469 (1984) (internal
 citations omitted).
 57
    See In re Drexel Burnham Lambert Grp., Inc., 120 B.R. 724, 735–36 (Bankr. S.D.N.Y. 1990).
 58
    11 U.S.C. § 363(b)(1)(B)(ii).
 59
    See Mich. Canners & Freezers Ass’n, 467 U.S. at 469.
 60
    11 U.S.C. § 363(b)(1)(B)(ii).
 61
    See P.K.R. Convalescent Ctrs., Inc. v. Commonwealth of Va., Dep’t of Med. Assistance Serv. (In re P.K.R.
 Convalescent Centers, Inc.), 189 B.R. 90, 93 (Bankr. E.D. Va. 1995).
 62
    See In re Baker & Drake, Inc., 35 F.3d 1348, 1354 (9th Cir. 1994) (quoting Schneidewind v. ANR Pipeline Co., 485
 U.S. 293, 300 (1988)).



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 have held that section 363 does not invalidate state law restrictions on the transfer of interests. 63

 This is true because the trustee or the debtor-in-possession “takes only those rights that the debtor

 had under state law.”64 It is an elementary rule of bankruptcy that the estate only succeeds to the

 title and rights in the property that the debtor possessed. 65 As a result, a state law restraining the

 transfer of an interest is not preempted by federal law. 66

          41.      There is no conflict between section 363 and Texas law. Texas is simply asking

 that this section 363 sale comply with Texas property and privacy laws in connection with the sale,

 transfer, or disclosure of genetic data, and that law requires express, separate, affirmative consent

 of Texas consumers prior to consummation of the sale of that property.

 D.       The Proposed Sale to TTAM Involves Insiders, and as such, Requires Additional
          Scrutiny.

          42.      The former CEO of the Debtors is Anne Wojcicki, who is currently serving on the

 Board of Directors for Debtors.67 Anne Wojcicki has appeared in this case, and is directly involved

 in the operations of TTAM, one of the potential purchasers of the assets of Debtors. Anne Wojcicki

 attempted to purchase assets of the Debtors pre-petition, and through TTAM, continues those




 63
    See, e.g., In re Schauer, 835 F.2d 1222, 1225 (8th Cir. 1987) (holding that a state law requiring consent in order to
 transfer patron margin certificates did not conflict with § 363 and thus the trustee could not transfer or assign the
 certificates absent approval as required by state law); In re Paul, 355 B.R. 64, 68 (Bankr. N.D. Ill. 2001) (holding that
 the trustee could not sell under § 363 the right to receive annuity payments without authorization of the state court as
 required by state law); In re Borne Chemical Co., 54 B.R. 126, 132 (Bankr. N.J. 1984) (holding that “just as the sale
 of licenses and certificates may be conditioned on compliance with federal or state requirements, the sale of real estate
 should be subject to federal or state regulatory provisions” and that the state environmental statute did “not conflict
 with the Bankruptcy Code”); Milk Indus. Regulatory Office of the Commonwealth of P.R. v. Rosa Dairy Farm, Inc.
 (In re Rosa Dairy Farm, Inc.), 622 B.R. 806, 816 (B.A.P. 1st 2020) (holding that the regulatory law did not conflict
 with the Bankruptcy Code and therefore was not preempted, thus requiring the debtor to comply with both the
 regulatory law and the Bankruptcy Code”); In re Baker & Drake, Inc., 35 F.3d 1348, 1354 (9th Cir. 1994) (holding
 that a Nevada statute requiring that drivers for tax companies be employees of the companies rather than independent
 contractors did not conflict with the Bankruptcy Code and therefore was not preempted).
 64
    See In re Schauer, 835 F.2d 1225.
 65
    Id. (quoting In re Klayer, 20 B.R. 270, 272 (Bankr. W.D. Ky. 1981)).
 66
    Id.
 67
    D.E. 32, ¶¶ 7.



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 efforts now.68

          43.      An “insider” includes a person or entity that has a “sufficiently close relationship

 to the debtor that its conduct is made subject to closer scrutiny than those dealing at arm’s length

 with debtor.”69 While engaging in insider transactions does not constitute a per se violation of

 fiduciary obligations, the fiduciary must prove that the transaction is inherently fair, carries the

 earmarks of an arm’s length bargain, and was entered into in good faith. 70

          44.      Because of the involvement by Anne Wojcicki in one of the possible transactions

 at issue, the Court should closely consider the terms of the sale and APA in question, and determine

 whether the Proposed Sale complies with the higher standards required for an insider transaction.

 E.       Texas Further Objects to Specific Provisions of Both APAs and the Proposed Order.

          45.      Beyond the issues already addressed, the APAs and Proposed Order include

 provisions that are ambiguous or otherwise problematic:

 Regeneron APA:

  D.E. 420 Page
                            APA Section/Term:                                   Issue/Objection:
    Number
                                                            May include data of customers who requested data
 12-13              1.1 "Acquired Assets"
                                                            and account deletion from Debtors.

                                                            May include transfer of governmental licenses,
                                                            permits, registrations, authorizations or approval, or
 13                 1.1. "Acquired Assets" (j)
                                                            discontinuation of obligations without requiring
                                                            separate governmental approval or consent.




 68
    D.E. 32, ¶¶ 9, 82, 83–88; D.E. 420, pp. 127 (defining “Purchaser Affiliates” to include, inter alia, Anne Wojcicki,
 Anne Wojcicki Revocable Trust U/A/D/ 9/2/09, as Amended and Restated, and The Anne Wojcicki Foundation).
 69
    See Eide v. Nat’l City Cap. Corp. (In re Riverside World Inc.), 366 B.R. 34, 43 (Bankr. N.D. Iowa 2007) (citing In
 re Controlled Power Corp. of Ohio, 351 B.R. 470, 475 (Bankr. N.D. Ohio 2006)).
 70
    See Lange v. Schropp (In re Brook Valley IV, J.V.), 347 B.R. 662, 675 (B.A.P. 8th Cir. 2006); see also In re Apex
 Oil Co., 92 B.R. 847, 869 (Bankr. E.D. Mo. 1988) (quoting In re Andy Frain Servs, Inc., 798 F.2d 1113, 1125 (7th
 Cir. 1986)).



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                                                    - Includes obligation to complete kits that have
                                                    already been purchased without customer consent to
                                                    a new company doing so.
 15             1.1. "Assumed Liabilities" (d)      - Unclear if customers will be made aware of change
                                                    in who they are transacting with and who they
                                                    should contact regarding questions, concerns, or
                                                    issues.


                                                    "Customer Data" and "Industry Data" overlap, but
                                                    "Customer Data" includes "Personal Information."
                                                    "Customer Data" is not included in the definition of
                                                    Acquired Assets, but 4.4 does include it.
                1.1. "Customer Data," "Industry
 12, 18                                             Definition of "Personal Information" doesn't include
                Data,"
                                                    biological samples or genetic data
                                                    Definition of "Privacy Laws" does not include
                                                    Texas laws relating to biological samples or genetic
                                                    data.


                                                    Section 7.11 includes certain of Regeneron's
                                                    commitments regarding Privacy Laws and Personal
                1.1 "Personal Information" and      Information, but biological samples and genetic data
 27, 28, 67     "Privacy Laws" and 7.11-Data        are excluded from the definition of both "Personal
                Privacy and Security                Information" and "Privacy Laws," and this section
                                                    does not seem to require any compliance with
                                                    Texas's genetic data laws.


                                                    - The applicable policies, statements, terms of
                                                    service, and notices should not be limited to those in
                                                    place on the effective date of the APA and should
                                                    include those in place at the time a consumer’s
 67             7.11 - Data Privacy and Security
                                                    biological sample or other information was
                                                    submitted.
                                                    - Permits change of purpose without compliance
                                                    with genetic data laws.

 78             12.2 - Governing Law                Disregards potential conflict of laws issues.

                                                    Allows for a different, unknown purchaser, to be
                12.7 - No Assignment; Binding       substituted without notice to anyone besides the
 81
                Effect                              Debtors and after the sale objection deadline and
                                                    Sale Hearing.

 83             12.16 - No Liability; Release       Broad releases that include Avoidance Actions.




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 TTAM APA:

   D.E. 420
                         APA Section/Term:                            Issue/Objection:
 Page Number
 109–111         1.1 "Acquired Assets"                  May include data of customers who requested
                                                        data and account deletion from Debtors.
 110             1.1. "Acquired Assets" (k)             May include transfer of governmental licenses,
                                                        permits, registrations, authorizations or
                                                        approval, or discontinuation of obligations
                                                        without requiring separate governmental
                                                        approval or consent.

 113             1.1. "Assumed Liabilities" (h)         - Includes obligation to complete kits that have
                                                        already been purchased without customer
                                                        consent to a new company doing so.
                                                        - Unclear if customers will be made aware of
                                                        change in who they are transacting with and
                                                        who they should contact regarding questions,
                                                        concerns, or issues.

 109–111, 116,   1.1. "Acquired Assets," "Company       -May include the data of customers who have
 126, 128        Genetic Database," “Personal           closed or deleted their accounts or have
                 Information,” and “Seller Data”        requested the Debtors to do so.
                                                        -23andMe has neither verified which accounts
                                                        have been deleted or closed nor have they set
                                                        forth what happened to the data associated
                                                        with those accounts.
                                                        -There are no terms in the TTAM APA that
                                                        explicitly carve out deleted customer accounts
                                                        and associated data from the Acquired Assets.

 126, 167        1.1 "Personal Information" and         Section 7.12 includes certain of TTAM's
                 "Privacy Laws" and 7.12 - “Data        commitments regarding Privacy Laws and
                 Privacy”                               Personal Information, but this section does not
                                                        seem to require any compliance with Texas's
                                                        genetic data laws.




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 167                7.12 - Data Privacy                       - The applicable policies, statements, terms of
                                                              service, and notices should not be limited to
                                                              those in place on the effective date of the APA
                                                              and should include those in place at the time a
                                                              consumer’s biological sample or other
                                                              information was submitted.
                                                              - Permits change of purpose without
                                                              compliance with genetic data laws.

 183–184            12.2 - Governing Law                      Disregards potential conflict of laws issues

 133–134            2.7 – Designated Purchaser                -Allows for the Purchaser to designate any
                                                              Affiliate, which could include an insider as
                                                              discussed above, to acquire the assets with
                                                              merely three business days’ notice prior to
                                                              closing.
                                                              -Allows insufficient time for any party to
                                                              potentially oppose any such transfer or
                                                              assumption to a “Designated Purchaser.”

 146, 168, 180      5.1(l) – Data Privacy, 7.13 – Successor Broad releases that include insiders and/or
                    Liability, and 11.5 – Free and Clear    board members that may still need to be
                                                            litigated in relation to the 2023 data breach.


 Proposed Order Dated 5/28/25 - D.E. 420:

 Section          Text                                                         Objection
 Findings of      N. Successor or Other Derivative Liability. With respect Directly contradicts Section
 Fact, Section    to any claims against, or other liabilities or obligations of, 4.4 of the APA; Cannot be
 N., pp. 10–11.   the Debtors, the Purchaser is not, and will not (a) be a both a “transfer in ownership”
 and              mere continuation or substantial continuation or alter that is not a sale, transfer or
 Order of the     ego of any of the Debtors, their respective estates, or disclosure of the Highly
 Court,           any registered enterprise of the Debtors, (b) be a             Sensitive Data, while also not
 paragraph 25,    successor or the designated successor-in-interest of any being a “mere continuation”
 p. 30.           of the Debtors, (c) except to the express extent set forth in of the Debtors.
                  the Sale Transaction Documents, agree to assume any
                  liabilities of any of the Debtors or (d) have merged with or
                  assumed the interests of the Debtors. . . .

 Order of the     12. Free and Clear. On the Closing Date, except as          State of Texas objects to
 Court,           otherwise expressly set forth in the Sale Transaction       waiver of state regulatory
 Paragraph 12     Documents… all Acquired Assets shall be transferred interests.
 and 11., pp.     to or vest in the Purchaser free and clear of all liens (as
 19–20.           defined in section 101(37) Bankruptcy Code), claims
                  (including those that constitute a “claim” as defined in
                  section 101(5) of the Bankruptcy Code), charges,
                  interests, or other encumbrances…




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 F.      Compliance with Texas Law is Not Unduly Burdensome.

          49.     Texas law requires, and general privacy concerns related to the protection of

 personally identifiable information dictate, that Texas consumers should be provided an opt-in

 option to allow their Highly Sensitive Data to be sold to the proposed Purchaser. This opt-in option

 is not overly burdensome and reduces the risk of disclosure of Highly Sensitive Data without the

 consumers’ consent. Opt-in disclosure policies provide a stronger protection for consumer privacy

 rights than opt-out practices do.71 Additionally, because the Debtors’ have successfully notified

 former and current customers of the Notice of Bar Date by email, 72 a similar email message seeking

 separate express consent should not be at a substantial cost to the administration of the bankruptcy

 estate, nor take an undue amount of time to obtain.

          47.     Said email message to Texas customers should include information that notifies

 Texas customers of their ability to opt in to the transaction once approved by the Court, with

 language suggested as follows:

                   By Order of the United States Bankruptcy Court for the Eastern
                   District of Missouri, all of the assets of 23andMe, including any
                   biological sample you submitted, genetic data generated from the
                   results and analysis of genetic testing, sensitive personal
                   information that you as a customer have provided to 23andMe,
                   medical records associated with Lemonaid Health, and other
                   personally identifiable information, will be transferred to a [New
                   York Corporation, Regeneron Pharmaceuticals, Inc./California
                   nonprofit public benefit corporation, TTAM Research Institute]
                   conditioned on your express consent by clicking the key
                   below to affirmatively opt-into this transfer.

                   If   you     do    not     opt-in    by    [insert    date],    then
                   your biological sample, all of your genetic data, sensitive personal
                   information, and your complete file will be destroyed by 23andMe.
                   The decision to opt-in is an important one that should be carefully
                   considered.

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    See, e.g., U.S. West, Inc. v. FCC, 182 F.3d 1224 (10th Cir. 1999) (overturning a former FCC order creating an opt-
 in disclosure requirement because the less-restrictive opt-out requirement would be more appropriate under the
 circumstances).
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    D.E. 349.



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                     Background: On March 23, 2025, [23andMe], of which you are a
                     customer, filed Chapter 11 bankruptcy in the United States
                     Bankruptcy Court for the Eastern District of Missouri, (23andMe
                     Holding Co., et al., Case No. 25-40976). Information regarding the
                     bankruptcy          case         can     be        found        at:
                     https://restructuring.ra.kroll.com/23andMe.

            48.      Texas has asserted that separate express consent is necessary to transfer, sell, or

 disclose data throughout the underlying bankruptcy case. 73 Should the Debtors and proposed

 Purchasers pose a concern based on a perceived change of the value of the Assets due to this opt-

 in consent requirement, the parties may choose to renegotiate the sale price. The cost to affected

 consumers outweighs the potential value to the bankruptcy estate, especially in light of the nature

 of the assets being transferred—extraordinarily sensitive genetic data, health and medical

 information, and other highly sensitive personally identifiable information, that once disclosed,

 cannot be changed.

 G.         Regulatory Protective Language in the Final Sale Order is Appropriate.

            49.      Texas seeks to ensure that all applicable laws and regulations are followed in

 connection with the Sale. Specifically, Texas wants to preserve: (a) Texas’s police and regulatory

 powers that any entity would be subject to as the owner or operator of property after the effective

 date of the Sale; (b) any liability to Texas under police and regulatory statutes or regulations that

 any entity would be subject to as owner or operator of property after the effective date of the Sale,

 including regulations on the transfer of any licenses; (c) any liability to Texas on the part of any

 person other than the Debtors; and (d) any causes of action Texas may have under applicable non-

 bankruptcy law, including all rights, claims and defenses to setoff and recoupment.




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      D.E. 181, pp. 26–32.



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        50.    Accordingly, Texas respectfully requests that the following language be included

 in any order approving the Sale:

               Nothing in this Order or related documents, including any agreement
               related to the sale of the purchased assets, shall release, nullify,
               discharge, bar, impair, enjoin, or otherwise preclude or affect: (i) any
               liability to any governmental unit as defined in 11 U.S.C. § 101(27)
               (“Governmental Unit”) that is not a “claim” as defined in 11 U.S.C. §
               101(5) (“Claim”); (ii) any Claim of a Governmental Unit arising on or
               after the date hereof; (iii) any liability to a Governmental Unit under
               police and regulatory statutes or regulations that any entity would be
               subject to as the owner, agent, lessor, lessee, permittee, controller, or
               operator of property or rights to property that such entity owns, operates,
               licenses, or leases on or after the date hereof; or (iv) any liability to a
               Governmental Unit on behalf of any non-Debtor. Nor shall anything in
               this Order release the Debtors from any Claim against the estate based
               on any pre-Closing actions nor enjoin, limit, or bar a Governmental Unit
               from asserting, exercising, or enforcing, outside this Court, any liability
               described in the preceding sentence or any police and regulatory powers.

               Further, nothing in this Order or related documents, including any
               agreement related to the sale of the purchased assets, authorizes the
               assumption, sale, transfer or assignment of any governmental (i) license,
               (ii) permit, (iii) registration, (iv) authorization or (v) approval, or the
               discontinuation of any obligation thereunder (collectively,
               “Governmental Interests”), without compliance with all applicable legal
               requirements and approvals under police or regulatory law. Nothing in
               this Order shall: (i) be interpreted to require any Governmental Unit to
               approve or otherwise consent to the assumption, sale, assignment or
               transfer of any Governmental Interests; (ii) relieve any entity from any
               obligation to address or comply with information requests or inquiries
               from any Governmental Unit; (iii) affect any setoff or recoupment rights
               of any Governmental Unit; or (iv) divest any tribunal of any jurisdiction
               it may have under police or regulatory law to interpret this Order or to
               adjudicate any defense asserted under this Order.


                             IV.     RESERVATION OF RIGHTS

        51.    Texas reserves the right to supplement this Objection or to raise additional

 arguments or objections to the Sale as necessary and appropriate.




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                                       V.      CONCLUSION

        52.     While expeditious consideration of the sale of property is not unusual in bankruptcy

 proceedings, the sale, transfer, and disclosure of the most sensitive of data must comply with

 applicable law, including state law that directly provides customers with a property interest in their

 data. As such, Texas requests the Court deny the Motion for Sale as proposed, and in the

 alternative, require the Debtors and/or any approved Purchaser to obtain express, separate,

 affirmative consent to the sale from Texas customers prior to the sale closing.

               [Remainder of page left intentionally blank. Signature page follows.]




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 Dated: June 10, 2025                   Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing document was filed electronically on
 the 10th day of June 2025, with the United States Bankruptcy Court, and has been served on the
 parties in interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic
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